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                                          DEFENDANT’S EXHIBIT LIST
            The State of Georgia v. Mark Randall Meadows                                U. S. D. C. NORTHERN DISTRICT OF GEORGIA,
                                                                                        ATLANTA DIVISION

Counsel for Plaintiff:                       Counsel for Defendant:                     Case No.:1:23-CV-3621-SCJ
Anna Cross, Adam Ney, Francis                Francis Aul, Robert Bittman, Joseph
Wakeford, John Wooten, Daysha                Englert, Michael Francisco,
Young                                        Emily Kelly, John Moran, George            Evidentiary Hearing Date: 8/28/2023
                                             Terwilliger

Judge Steve C. Jones                           Court Reporters: Viola Zborowski,        Courtroom Deputy: Pamela Wright
                                               Penny Coudriet
Dft. Exh.            Date         Date
                     Identified   Admitted                                   DESCRIPTION OF EXHIBITS

    1                8/28/23      8/28/23      Commission of Mark Randall Meadows, Chief of Staff

    2                8/28/23      8/28/23      Criminal Indictment, Fulton County Superior Court case no. 23SC188947

    3                8/28/23      8/28/23      Declaration of Scott Gast

    4                8/28/23      8/28/23      Declaration of Benjamin Williamson
